                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA


UNITED STATES OF AMERICA                              )
                                                      )       Case No. 1:09-CR-142
v.                                                    )
                                                      )       COLLIER / LEE
                                                      )
VINCENT HAWKINS                                       )
                                                      )


                          ORDER OF DETENTION PENDING TRIAL

       Defendant VINCENT HAWKINS appeared for a hearing before the undersigned on October
8, 2009, in accordance with Rule 46(c) of the Federal Rules of Criminal Procedure and 18 U.S.C.
§§ 3142 and 3148 on the Petition for Action on Conditions of Pretrial Release [Doc. 42]. Those
present for the hearing included:


               (1)     AUSA Terra Bay for the USA.
               (2)     Defendant.
               (3)     Attorney Steven G. Moore for Defendant.
               (4)     U.S. Probation Services Officer David Croft.
               (5)     Deputy Clerk Russell Eslinger.
               (6)     Court Reporter Jeannie Boleman.


        After being sworn in due form of law, Defendant was informed or reminded of his privilege
against self-incrimination accorded him under the 5th Amendment to the United States Constitution.

       It was determined Defendant had been provided with a copy of the Petition for Action on
Conditions of Pretrial Release and had the opportunity of reviewing that document with his attorney.
The government moved that Defendant’s release be revoked and he be detained without bail.
Defendant was advised of his right to a detention hearing and said hearing was held. The
Government presented the testimony of Officer Croft, who testified consistent with the facts set forth
in the petition and recommended detention. Attorney Moore cross-examined Officer Croft.
Defendant testified on his own behalf and was cross-examined by AUSA Bay.

       Based on the evidence, I find by clear and convincing evidence that Defendant has violated
his conditions of release, specifically, condition 7(p). Defendant’s bond conditions are revoked and
Defendant is ordered into custody to be detained without bail pending further court proceedings
because Defendant is determined to be a danger to society based on his violations of his bond
conditions, the rebuttal presumption, and Defendant’s continuing drug use. Because there is no



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condition or combination of conditions of release that will assure Defendant will not pose a danger
to the safety of any other person or the community at this time, and because Defendant is unlikely
to abide by any condition or combination of conditions of release, Defendant’s release is revoked
and he shall be held in custody by the United States Marshal and produced for further proceedings
as appropriate.


       ENTER.
                                             s/Susan K. Lee
                                             SUSAN K. LEE
                                             UNITED STATES MAGISTRATE JUDGE




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